Case 2:21-cv-04920-WLH-ADS     Document 437    Filed 08/30/24   Page 1 of 5 Page ID
                                    #:10725
        WIECHERT, MUNK & GOLDSTEIN, PC              MORVILLO ABRAMOWITZ
        David Wiechert, CA Bar No. 94607            GRAND IASON & ANELLO PC
        4000 MacArthur Boulevard,                   Jonathan S. Sack (pro hac vice)
   1                                                Alexander F.R. Peacocke (pro hac vice
        Suite 600 East Tower                        pending)
   2
        Newport Beach, CA 92660                     565 Fifth Avenue
        Phone: (949) 361-2822                       New York, New York 10017
   3
        Facsimile: (949) 361-5722                   Phone: (212) 856-9600
        Email: dwiechert@aol.com                    Facsimile: (212) 856-9494
   4                                                Email: jsack@maglaw.com
                                                    Email: apeacocke@maglaw.com
   5
                                                    Attorneys for Specially Appearing
   6                                                Defendant David Tassillo
   7

   8

   9

   10                      UNITED STATES DISTRICT COURT
   11                    CENTRAL DISTRICT OF CALIFORNIA
   12   SERENA FLEITES,
                                Plaintiff,            Case No. 2:21-cv-4920
   13
                    v.                                LOCAL CIVIL RULE 79-5.2.2
   14                                                 APPLICATION FOR LEAVE
        MINDGEEK S.A.R.L. a foreign entity;           TO FILE UNDER SEAL
   15   MG FREESITES, LTD., a foreign entity;         MATERIAL DESIGNATED
        MINDGEEK USA INCORPORATED, a                  BY ANOTHER PARTY AS
   16   Delaware corporation; MG PREMIUM              CONFIDENTIAL PURSUANT
        LTD, a foreign entity; MG GLOBAL              TO A PROTECTIVE ORDER
   17   ENTERTAINMENT INC., a Delaware
        corporation; 9219-1568 QUEBEC, INC.,
   18   foreign entity; BERND BERGMAIR, a             Hearing Date: November 22,
        foreign individual; FERAS ANTOON, a           2024
   19   foreign individual; DAVID TASSILLO, a         Courtroom: 9B
        foreign individual; VISA INC., a Delaware     Judge: Hon. Wesley L. Hsu
   20   corporation; REDWOOD MASTER
        FUND, LTD, a foreign entity; MANUEL           Complaint Filed: June 17, 2021
   21   2018, LLC, a Delaware corporation,
        GINGOGERUM, LLC, a Delaware                   Trial Date: None Set
   22   corporation; WHITE-HATHAWAY
        OPPORTUNITY FUND, LLC, A
   23   Delaware corporation; COLBECK
        CAPITAL MANAGEMENT, LLC, a
   24   Delaware Corporation; CB AGENCY
        SERVICES, LLC, A Delaware
   25   corporation; and CB PARTICIPATIONS
        SPV, LLC, a Delaware corporation
   26
                                Defendants.
   27

   28
        LOCAL CIVIL RULE 79-5.2.2 APPLICATION FOR LEAVE TO FILE UNDER
             SEAL MATERIAL DESIGNATED BY ANOTHER PARTY AS
              CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
                              CASE NO. 2:21-cv-4920
Case 2:21-cv-04920-WLH-ADS       Document 437      Filed 08/30/24   Page 2 of 5 Page ID
                                      #:10726



   1          Pursuant to Local Civil Rule 79-5.2.2 and the Stipulated Protective Order
   2    entered by this Court on October 14, 2022 (ECF No. 187), Specially Appearing
   3    Defendants Feras Antoon and David Tassillo (“Antoon and Tassillo”) hereby
   4    submit this Application for Leave to File Under Seal Material Designated by
   5    Another Party as Confidential Pursuant to a Protective Order. In support of this
   6    Application, Antoon and Tassillo state as follows:
   7          1.     Under the parties’ Stipulated Protective Order, a party may designate
   8    material that it produces as “Confidential” or “Highly Confidential” if it qualifies
   9    for protection under Fed. R. Civ. P. 26(c), or as otherwise provided for in the
   10   parties’ Good Cause Statement.
   11         2.     As relevant to this Application, on July 29, 2022, the Court ordered
   12   defendants in this action to submit to jurisdictional discovery. ECF No. 167.
   13   During jurisdictional discovery, Antoon, Tassillo and Bernd Bergmair (together,
   14   the “Individual Defendants”) and MindGeek S.à r.l., MG Freesites Ltd., MindGeek
   15   USA Incorporated, MG Premium Ltd, MG Global Entertainment Inc., and 9219-
   16   1568 Quebec, Inc. (together, the “MindGeek Entity Defendants”) produced
   17   discovery, including responses to requests for the production of documents,
   18   interrogatory responses, deposition testimony, and/or requests for admission, and
   19   designated portions thereof “Confidential” or “Highly Confidential” under the
   20   Stipulated Protective Order.
   21         3.     On May 23, 2024, Plaintiff filed her Second Amended Complaint
   22   (“SAC”), which included references to material designated either “Confidential” or
   23   “Highly Confidential” under the Stipulated Protective Order. Also on May 23,
   24   2024, Plaintiff filed an application for leave to file this material under seal. ECF
   25   No. 386. On May 28 and 29, 2024, the MindGeek Entity Defendants and Bernd
   26
   27
                                        1
   28   LOCAL CIVIL RULE 79-5.2.2 APPLICATION FOR LEAVE TO FILE UNDER
             SEAL MATERIAL DESIGNATED BY ANOTHER PARTY AS
              CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
                              CASE NO. 2:21-cv-4920
Case 2:21-cv-04920-WLH-ADS        Document 437     Filed 08/30/24   Page 3 of 5 Page ID
                                       #:10727



   1    Bergmair, respectively, submitted declarations in support of Plaintiff’s application
   2    to file portions of the SAC under seal. ECF Nos. 388, 389.
   3          4.     On July 24, 2024, the parties agreed to a briefing schedule on any
   4    motions in response to the SAC, giving defendants until August 30, 2024, to
   5    Answer, Move, or Otherwise Respond to the SAC. ECF No. 419. Antoon and
   6    Tassillo intend to file a motion to dismiss in response to the SAC on this schedule,
   7    supported by, inter alia, a Memorandum of Points and Authorities, a Declaration
   8    of Jonathan S. Sack, Esq., with Exhibits 1 to 11, a Declaration of Feras Antoon,
   9    with Exhibits A, B, and C, and a Declaration of David Tassillo, with an Exhibit A.
   10         5.     Local Rule 79-5.2.2 provides that where a Filing Party seeks to file a
   11   document containing information previously designated as confidential by another
   12   pursuant to a protective order, and the document cannot be suitably redacted by
   13   agreement, the Filing Party may file an Application for Leave to File Under Seal.
   14   The Rule further requires the Filing Party to confer with the Designating Party at
   15   least 3 days before seeking to file the document(s) under seal and, if sealing
   16   remains necessary, to serve a copy of the application and any supporting
   17   declaration on the Designating Party the same day the motion is filed, so that the
   18   Designating Party may, within four days, file a declaration that establishes why all
   19   or part of the designated material is sealable.
   20         6.     On August 27, 2024, Antoon and Tassillo notified Bergmair and the
   21   MindGeek Entity Defendants of their intention to use materials designated as
   22   “Confidential” or “Highly Confidential” in support of their motion to dismiss.
   23   Bergmair and the MindGeek Entity Defendants elected to maintain their
   24   confidentiality designations under the Stipulated Protective Order.
   25         7.     Accordingly, under Local Rule 79-5.2.2, Antoon and Tassillo have
   26   redacted material from the publicly filed versions of their Memorandum of Points
   27
                                                  -2-
   28   LOCAL CIVIL RULE 79-5.2.2 APPLICATION FOR LEAVE TO FILE UNDER
             SEAL MATERIAL DESIGNATED BY ANOTHER PARTY AS
              CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
                              CASE NO. 2:21-cv-4920
Case 2:21-cv-04920-WLH-ADS         Document 437    Filed 08/30/24   Page 4 of 5 Page ID
                                        #:10728



   1    and Authorities and the Exhibits to the Declarations of Feras Antoon, David
   2    Tassillo, and Jonathan S. Sack, Esq., in support of their Motion to Dismiss.
   3           8.     Antoon and Tassillo therefore respectfully request that the Court enter
   4    the concurrently filed [Proposed] Order permitting Antoon and Tassillo to file
   5    under seal portions of their Memorandum of Points and Authorities in support of
   6    their Motion to Dismiss, and the exhibits to the Declarations of Feras Antoon,
   7    David Tassillo, and Jonathan S. Sack, Esq., that reference material designated
   8    “Confidential” or “Highly Confidential” under the Stipulated Protective Order by
   9    the other parties in this action.
   10          9.     Plaintiff, Bergmair, and the MindGeek Entity Defendants have been
   11   served with a copy of this Application today through the CM/ECF system, and by
   12   email, as required by Local Rule 79-5.2.2.
   13

   14
               DATED: August 30, 2024           Respectfully Submitted,

   15

   16
                                                By: /s/ Jonathan S. Sack            -

   17

   18                                           MORVILLO ABRAMOWITZ GRAND
                                                IASON & ANELLO PC
   19                                           Jonathan S. Sack (pro hac vice)
   20                                           Alexander F.R. Peacocke (pro hac vice
                                                pending)
   21

   22                                           Attorneys for Specially Appearing
                                                Defendant David Tassillo
   23

   24                                           COHEN & GRESSER LLP
                                                Jason Brown (pro hac vice)
   25                                           Matthew V. Povolny (pro hac vice)
   26                                           Joanna Chan

   27
                                                  -3-
   28   LOCAL CIVIL RULE 79-5.2.2 APPLICATION FOR LEAVE TO FILE UNDER
             SEAL MATERIAL DESIGNATED BY ANOTHER PARTY AS
              CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
                              CASE NO. 2:21-cv-4920
Case 2:21-cv-04920-WLH-ADS   Document 437    Filed 08/30/24   Page 5 of 5 Page ID
                                  #:10729



   1
                                        Attorneys for Specially Appearing
   2                                    Defendant Feras Antoon
   3
                                        WIECHERT, MUNK & GOLDSTEIN, PC
   4                                    David W. Wiechert (SBN 94607)
   5

   6

   7

   8

   9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26
   27
                                            -4-
   28   LOCAL CIVIL RULE 79-5.2.2 APPLICATION FOR LEAVE TO FILE UNDER
             SEAL MATERIAL DESIGNATED BY ANOTHER PARTY AS
              CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
                              CASE NO. 2:21-cv-4920
